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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

 ANDREW DOE                                                                             PLAINTIFF

 V.                                                 CIVIL ACTION NO. 3:18-CV-138-DPJ-FKB

 THE UNIVERSITY OF MISSISSIPPI, ET AL.                                              DEFENDANTS

                                               ORDER

       On February 8, 2021, after the briefing on dispositive and Daubert motions was

complete, the Court stayed this case while the parties explored settlement. Order [225]. In

February of this year, Plaintiff moved to lift the stay. Judge Ball initially granted the motion,

indicating that a case-management conference would be set by separate notice, and then

reimposed the stay “[i]n order to clarify that no action is to be taken in th[e] case prior to the case

management conference.” Mar. 8, 2023 Text-Only Order. Given the procedural stage of the

case, the Court finds there is no need for a case-management conference. Instead, the stay

should be lifted, and the parties will be given an opportunity to file supplemental briefs on the

pending motions.

       Specifically, by June 1, 2023, as to each presently pending motion, the movant may file a

supplemental brief. The parties may (1) withdraw any abandoned arguments or claims and (2)

address any legal authority that has developed since the briefing closed in 2020. To be clear,

the parties are not to repeat or rehash arguments they have already made; nor shall they

raise new arguments that could have been raised when the motions were first filed. The

non-movant may file a supplemental response brief on or before June 15, 2023, and the movant

may file a supplemental reply brief on or before June 23, 2023. The supplemental briefs may not
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exceed 10 pages per party, per motion (i.e., the movant’s supplemental brief and supplemental

reply shall together not exceed 10 pages).

       Finally, the parties are not required to file supplemental briefs. If a party concludes there

is no need for supplemental briefing on a particular motion, they should file a notice to that effect

in lieu of a supplemental brief. If the responding party believes there have been changes in the

law that require attention, then they may nevertheless file a response, to which the movant may

reply (within the deadlines listed above). The stay of this matter is hereby lifted.

       SO ORDERED AND ADJUDGED this the 1st day of May, 2023.

                                              s/ Daniel P. Jordan III
                                              CHIEF UNITED STATES DISTRICT JUDGE




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